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eee eee en EES eee FEM Oe ee TS, Pe Ns Sood hat SOP tt WLIO Te Tad ORB NER SEE EES, = eae eS
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yet REEF See ue “ee eg Seg 4 Bee ti Ae RT se AS eee g aed PY ER Me A x S . = eRe IR SE NS SCRE I Sed Bio "Bg Syra.
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ty EM Gee 3 BOER TT Rw BT OP Be rd IS ARS go ES . s a ee SSO OT CTE OASE «A ess ee RCO NERD Ie oA ae
‘ 2 OBOE et TE EE ae *a A OM TS Bg MEE ae ON I a - Se oS ee ees ee ICES oc ie oy waren
Drainage Basin Pes ARB og BOS ~ WLP eg 5 Len 3 BS STE ly a aes ee 2 aS on Ce ani UU Ses ue SEB gh
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